        Case 1:21-cv-03068-BAH Document 40-1 Filed 07/26/22 Page 1 of 14



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 XL SPECIALTY INSURANCE COMPANY,                           Civil Action No.
                                                           1:21-cv-03068-GLR
                        Plaintiff,

 v.

 BIGHORN CONSTRUCTION AND
 RECLAMATION, LLC, BRIDGELINK
 ENGINEERING, LLC, BRIDGELINK
 COMMODITIES, LLC,
 BRIDGELINK INVESTMENTS, LLC,
 BRIDGELINK DEVELOPMENT, LLC,
 BRIDGELINK RENEWABLE ENERGY
 INVESTMENTS LLC, INTERMOUNTAIN
 ELECTRIC SERVICE, INC., BIGHORN
 INVESTMENTS AND PROPERTIES, LLC,
 COLE W. JOHNSON, CORD H. JOHNSON,
 CASSIE J. HAMILTON

                        Defendants.



 DECLARATION OF BARRY HUBER OF XL SPECIALTY INSURANCE COMPANY
        IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
       I, Barry Huber, declare as follows:
       1.      I am over the age of 18 and am competent to testify to the matters set forth herein.

I have personal knowledge of the facts set forth herein.

       2.      I submit this declaration in support of Plaintiff, XL Specialty Insurance Company’s

(“XL”), motion for summary judgment against Defendants, Bighorn Construction and

Reclamation LLC (“BCR”), Bridgelink Engineering, LLC, Bridgelink Commodities, LLC,

Bridgelink Investments, LLC, Bridgelink Development, LLC, Bridgelink Renewable Energy

Investments, LLC, Intermountain Electric Service, Inc., Bighorn Investments and Properties, LLC,

Cole W. Johnson, Cord H. Johnson and Cassie J. Hamilton (collectively, “Indemnitors”).


                                                 1
        Case 1:21-cv-03068-BAH Document 40-1 Filed 07/26/22 Page 2 of 14



  I.    The Indemnity Agreement

        3.      On or about June 25, 2021, in consideration for and in order to induce XL, as surety,

to issue bonds on behalf of BCR as principal, on June 25, 2021, Indemnitors executed a General

Agreement of Indemnity in favor of XL, as indemnitee (the “Indemnity Agreement”).

        4.      A true and accurate copy of the Indemnity Agreement is attached hereto as Exhibit

A.

        5.      Pursuant to Paragraph 3 of the Indemnity Agreement, the Indemnitors agreed,

jointly and severally, to:

                To exonerate, indemnify, hold harmless and keep indemnified [XL]
                from and against all demands, claims, losses, costs, liabilities,
                damages, and expenses including, without limitation, attorney's
                fees, expert’s fees, interest, court costs, investigative expenses,
                document reproduction and storage charges (collectively the
                “Surety’s Loss”) which [XL] may sustain or incur by reason of the
                issuance of the Bonds or Indemnitors’ failure to perform or comply
                with any of the provisions of this Agreement or [XL] attempting to
                obtain a release of or evidence of termination under such Bonds.

Ex. A at ¶ 3

        6.      In Paragraph 3 of the Indemnity Agreement, the Indemnitors further agreed, jointly

and severally, that:

                An itemized, sworn statement by an employee of [XL] or any other
                evidence of [XL’s] Loss shall be prima facie evidence of propriety,
                amount and existence of Indemnitors liability to [XL]. Indemnitors
                shall pay to [XL] interest, including pre and post judgment interest
                on all disbursements made by [XL] at the maximum rate permitted
                by law, calculated from the date of each such disbursement.
Id. at ¶ 3


        7.      Pursuant to Paragraph 5 of the Indemnity Agreement, the Indemnitors further

agreed, jointly and severally, that:


                                                  2
         Case 1:21-cv-03068-BAH Document 40-1 Filed 07/26/22 Page 3 of 14



               In order to exonerate and indemnify [XL], to place [XL] in
               immediately available funds, in a form and amount deemed
               acceptable in the [XL]’s sole discretion, when requested to do so in
               order to meet and satisfy any claim, reserve established by [XL], or
               demand made upon [XL] under the Bonds (whether or not such
               claims or demands are contested by Indemnitors before [XL] shall
               be required to make payment under the Bonds). Indemnitors
               acknowledge that failure of Indemnitors to deposit such funds with
               [XL] in accordance with this section in the amounts, in a form and
               at the time demanded by [XL] shall cause irreparable harm for which
               [XL] has no adequate remedy at law. Indemnitors agree that [XL]
               shall be entitled to injunctive relief for specific performance of
               Indemnitors’ obligation to deposit funds in accordance with this
               section and expressly waives and relinquishes any claims or
               defenses to the contrary.

Id. at ¶ 5

        8.     Pursuant to Paragraph 8 of the Indemnity Agreement, the Indemnitors further

agreed, jointly and severally, that:

               [XL] may, at any time and for any reason in its sole discretion,
               require the Indemnitors upon written notice to immediately procure
               the full release of the Bonds or deliver to [XL] collateral security in
               the form acceptable to [XL]. The collateral security will be in an
               amount equal to 100% of all undischarged liability under all Bonds,
               which liability shall be determined by [XL] as of the date of written
               notice.

Id. at ¶ 8.

        9.     Pursuant to Paragraph 8 of the Indemnity Agreement, the Indemnitors further

agreed, jointly and severally, that:

               Indemnitors acknowledge that failure to deposit such funds with
               [XL] in accordance with this section shall cause irreparable harm for
               which [XL] has no adequate remedy at law. Indemnitors agree that
               [XL] shall be entitled to injunctive relief for specific performance of
               Indemnitors’ obligation to deposit funds in accordance with this
               section and expressly waive and relinquish any claims or defenses
               to the contrary. Collateral security to be provided to [XL] shall be
               sent to XL Specialty Insurance Company, 505 Eagleview Blvd.,
               Suite 100, PO Box 636, Exton, PA 19341-0636, Attn: Collateral
               Manager.

                                                 3
         Case 1:21-cv-03068-BAH Document 40-1 Filed 07/26/22 Page 4 of 14




Id. at ¶ 8.

        10.     Pursuant to Paragraph 4 of the Indemnity Agreement, the Indemnitors further

agreed, jointly and severally, that:

                if [XL] (i) receives any claim under any Bonds or (ii) establishes, in
                its sole discretion, any reserve, the Indemnitors will provide [XL] or
                its designees access to all records, including all financial records, of
                the Indemnitors for the purposes of examining and copying same.

                [Id. at ¶ 24, Ex. A at ¶ 4.]

 II.    The Bonds

              a. The Depcom Project & Depcom Bonds

        11.     Depcom Power, Inc. (“Depcom”) executed a contract (“Depcom Contract”) to

perform as general contractor on the project known as “MD70 Richfield Photovoltaic Power Plant”

(“Depcom Project”).

        12.     Subsequent to the execution of the Indemnity Agreement, BCR entered into a

subcontract (“Depcom Subcontract”) with Depcom to perform work on the Project.

        13.     On or about June 17, 2021, XL, as surety, issued a Subcontract Performance Bond

(“Depcom Performance Bond”) and Subcontract Payment Bond (“Depcom Payment Bond”), both

bearing bond no. US00104943SU21A (collectively the “Depcom Bonds”) on behalf of BCR, as

principal, and in favor of Depcom, as obligee, in connection with the Depcom Project.

        14.     True and accurate copies of the Depcom Bonds are attached hereto as composite

Exhibit B.




                                                   4
        Case 1:21-cv-03068-BAH Document 40-1 Filed 07/26/22 Page 5 of 14



             b. The Monmouth Project & Monmouth Bonds

       15.     MYR Energy Services, Inc. (“MYR”) executed a contract (“MYR Contract”) to

perform as general contractor on the project known as “Monmouth Solar Project” (“Monmouth

Project”).

       16.     On or about June 11, 2021, MYR entered into a subcontract (“Monmouth

Subcontract”) with BCR whereunder BCR agreed to perform work on the Monmouth Project.

       17.     On or about June 25, 2021, XL, as surety, issued a Subcontract Performance Bond

(“Monmouth Performance Bond”) and Subcontract Payment Bond (“Monmouth Payment Bond”),

both bearing bond no. US00104945SU21A (collectively the “Monmouth Bonds”) on behalf of

BCR, as principal, and in favor of MYR, as obligee, in connection with the Monmouth Project.

       18.     True and accurate copies of the Monmouth Bonds are attached hereto as composite

Exhibit C.

III.   XL Begins to Receive Claims Against the Bonds

       19.     By letter dated October 6, 2021, Depcom issued notice to XL claiming that BCR

removed its personnel and began to demobilize its equipment from the Depcom Project.

       20.     Depcom also notified XL that it was aware of at least nine (9) sub-subcontractors

and vendors that are owed balances from BCR that were past due.

       21.     According to the schedule of unpaid sub-subcontractors and vendors provided by

Depcom, it then appeared that BCR owed its subcontractors and vendors more than $1,230,000.

       22.     By letter dated October 21, 2021, Depcom issued a termination notice to BCR

terminating the Depcom Subcontract (“BCR Termination”).

       23.     By letter dated November 5, 2021, counsel for Richfield Farms LLC (“Richfield”)

asserted a claim against the Depcom Payment Bond for labor and/or materials allegedly supplied

                                               5
       Case 1:21-cv-03068-BAH Document 40-1 Filed 07/26/22 Page 6 of 14



to the Depcom Project, in the amount of $300,258.49, inclusive of finance charges (“Richfield

Claim”).

       24.      A true and accurate copy of the Richfield Claim Letter is attached hereto as Exhibit

D.

       25.      By letter dated November 12, 2021, counsel for United Rentals (“United Rentals”)

asserted a claim against the Depcom Payment Bond for labor and/or materials allegedly supplied

to the Depcom Project, in the amount of $265,336.50 (“United Rentals Depcom Claim”).

       26.      A true and accurate copy of the United Rentals Depcom Claim is attached hereto

as Exhibit E.

       27.      By letter dated November 30, 2021, MYR issued a Notice of Default of the MYR

Subcontract to BCR, copying XL (“MYR Default”).

       28.      Within the MYR Default, MYR demanded that certain defects be cured within

seven (7) days and, if said defects remained uncured, MYR reserved its right to terminate the

Monmouth Subcontract and make a claim against the Monmouth Performance Bond.

IV.     XL Demands Collateral from Indemnitors

       29.      After receiving notice of the BCR Termination and Richfield Claim, by letter dated

November 11, 2021, XL requested, consistent with the express terms of the Indemnity Agreement,

that the Indemnitors deposit collateral security with XL in the amount of $2,000,000.

       30.      A true and accurate copy of XL’s November 11, 2021 letter to the Indemnitors is

attached hereto as Exhibit F.

       31.      Despite XL’s November 11, 2021, demand letter, the Indemnitors failed to, among

other things, deposit collateral with XL, in material breach of the Indemnitors’ joint and several

obligations made under the Indemnity Agreement.

                                                 6
        Case 1:21-cv-03068-BAH Document 40-1 Filed 07/26/22 Page 7 of 14



       32.     XL, in its November 11, 2021 letter, also demanded that the Indemnitors provide

XL with unrestricted access to the Indemnitors’ financial statements, books, records, and accounts.

       33.     By letter dated November 17, 2021, XL sent another letter to the Indemnitors

wherein XL: (i) advised Indemnitors that Richfield supplied documents in support of its claim and

“it appears that Richfield supplied materials to the Project and the amounts claimed are due and

owing except for finance charges; and (ii) reiterated its demand that Indemnitors deposit collateral

security.

       34.     A true and accurate copy of XL’s November 17, 2021 letter to the Indemnitors is

attached hereto as Exhibit G.

       35.     Between November 17, 2021, and the Thanksgiving holiday, XL attempted to

resolve the matter with the Indemnitors without Court intervention, however, Indemnitors refused

to provide XL adequate assurances and/or access to their books and records as required under the

Indemnity Agreement.

 V.    XL Commences this Lawsuit and Receives Additional Claims Against the Bonds

       36.     On December 1, 2021, XL filed this lawsuit against Indemnitors via Verified

Complaint and, at the same time it filed this action, XL filed an emergent motion for restraints

(“Emergent Motion”) seeking specific performance of its right to demand collateral security from

Indemnitors in the amount of $2,000,000.

       37.     After XL filed its Verified Complaint and Emergent Motion, XL received

additional claims against the Depcom Bonds and Monmouth Bonds (collectively, “Bonds”).




                                                 7
       Case 1:21-cv-03068-BAH Document 40-1 Filed 07/26/22 Page 8 of 14



             a. XL Receives Claims Against the Depcom Bonds During the Pendency of this
                Lawsuit

       38.      In or around December 2021, Bennett Brewer & Associates LLC (“Bennett

Brewer”) asserted a claim in the amount of $134,100 against the Depcom Payment Bond for labor

and/or materials allegedly supplied to the Depcom Project (“Bennett Brewer Claim”).

       39.      On December 7, 2021, Ferguson Waterworks (“Ferguson”) filed a claim in the

amount of $147,764.83 against the Depcom Payment Bond for labor and/or materials allegedly

supplied to the Depcom Project (“Ferguson Claim”).

       40.      A true and accurate copy of the Ferguson Claim is attached hereto as Exhibit H.

       41.      On January 3, 2022, Willard Agri-Service filed a claim in the amount of $15,971.97

against the Depcom Payment Bond for labor and/or materials allegedly supplied to the Depcom

Project (“Willard Claim”).

       42.      A true and accurate copy of the Willard Claim is attached hereto as Exhibit I.

       43.      On January 4, 2022, William Hunter Wessels/Mac Farms, Inc. (“Mac Farms”) filed

a claim in the amount of $88,200 against the Depcom Payment Bond for labor and/or materials

allegedly supplied to the Depcom Project (“Mac Farms Claim”).

       44.      A true and accurate copy of the Mac Farms Claim is attached hereto as Exhibit J.

       45.      By letter dated April 1, 2022, counsel for Dozr, Ltd. (“Dozr”) asserted a claim in

the amount of $222,475.20 against the Depcom Payment Bond for labor and/or materials allegedly

supplied to the Depcom Project (“Dozr Claim”).

       46.      A true and accurate copy of the Dozr Claim is attached hereto as Exhibit K.




                                                 8
        Case 1:21-cv-03068-BAH Document 40-1 Filed 07/26/22 Page 9 of 14



              b. XL Receives Claims Against the Monmouth Bonds During the Pendency of the
                 Lawsuit

       47.       By letter dated December 8, 2021, MYR issued a Notice of Termination to BCR,

copying XL (“MYR Termination”).

       48.       On December 8, 2021, XL received notice that White Cap L.P. (“White Cap”) had

filed a Certificate of Lien (“White Cap Lien”) in the amount of $11,145.19 against the Monmouth

Project (“White Cap Lien Notice”).

       49.       A true and accurate copy of the White Cap Lien Notice is attached hereto as Exhibit

L.

       50.       On December 13, 2021, MYR wrote to BCR, copying XL, demanding that it

discharge a lien that was filed by BCR vendor, Milton Rents, in the amount of $47,427.93 (“Milton

Rents Lien Demand”).

       51.       A true and accurate copy of the Milton Rents Lien Demand is attached hereto as

Exhibit M.

       52.       On December 15, MYR filed a claim in the amount of $150,000 or more against

the Monmouth Performance Bond (“MYR Claim”).

       53.       A true and accurate copy of the MYR Claim is attached hereto as Exhibit N.

       54.       Upon receiving the MYR Claim, XL had communications with MYR during which

time MYR indicated that its claim would likely increase because it did not know how much it

would cost to complete BCR’s scope of work on the Monmouth Project with a completion

contractor.

       55.       On December 16, 2021, United Rentals filed a claim in the amount of $64,947.86

against the Monmouth Payment Bond for labor and/or materials allegedly supplied to the

Monmouth Project (“United Rentals Monmouth Claim”).

                                                  9
         Case 1:21-cv-03068-BAH Document 40-1 Filed 07/26/22 Page 10 of 14



         56.    A true and accurate copy of the United Rentals Monmouth Claim is attached hereto

as Exhibit O.

VI.      XL Resolves Certain Claims Against the Bonds

         57.    After filing the Emergent Motion, counsel for XL and Indemnitors jointly agreed

to stay the Court’s decision on the Emergent Motion for one (1) month in hopes that the parties

could resolve the claims that had already been made, and were continuing to be made, against the

Bonds.

         58.    During the one (1) month stay period, XL and Indemnitors had conversations with

counsel for Depcom, during which time Depcom indicated that it intentionally withheld payment

from BCR for certain invoices after disputes arose over BCR’s performance of work on the

Depcom Project.

         59.    The parties agreed that, to the extent any claims against the Depcom Payment Bond

arose from invoices that Depcom intentionally withheld payment from BCR, Depcom would

release the withheld funds applicable to such claims and BCR would agree to count such payment

against amounts BCR alleged it was owed from Depcom (“Joint Check Agreement”).

         60.    In or around December 2021, after conducting a good faith investigation, XL

resolved the Bennett Brewer Claim pursuant to the Joint Check Agreement whereby Depcom

agreed to issue payment directly to Bennett Brewer in the amount of $134,100.

         61.    On or about December 23, 2021, after conducting a good faith investigation, XL

resolved the Richfield Claim pursuant to the Joint Check Agreement whereby Depcom issued

payment directly to Richfield in the amount of $284,294, and BCR agreed to pay the balance of

$16,234.49.




                                               10
       Case 1:21-cv-03068-BAH Document 40-1 Filed 07/26/22 Page 11 of 14



           62.   On or about January 21, 2022, after conducting a good faith investigation, XL

resolved the United Rentals Depcom Claim pursuant to the Joint Check Agreement whereby

Depcom issued payment directly to United Rentals in the amount of $148,707, and XL paid the

balance of $116,929.50.

           63.   On or about February 23, 2022, after conducting a good faith investigation, XL

resolved the Ferguson Claim pursuant to the Joint Check Agreement whereby Depcom issued

payment directly to Ferguson in the amount of $2,314, and XL paid the balance of $145,450.83.

           64.   On or about June 28, 2022, after conducting a good faith investigation, XL resolved

the Dozr Claim pursuant to the Joint Check Agreement whereby Depcom issued payment directly

to Dozr in the amount of $154,520, and XL paid the balance of $67,955.20.

           65.   On or about July 7, 2022, after conducting a good faith investigation, XL resolved

the Mac Farms Claim by issuing payment to Mac Farms in the amount of $88,200.

           66.   To date, XL has incurred losses under the Depcom Payment Bond in the amount of

$418,535.53, along with additional costs and expenses, including attorneys’ fees, to resolve all of

the referenced claims against the Bonds in the amount of $44,769.20.

           67.   Attached as Exhibit P is an itemized statement of XL’s losses, costs and expenses

to date.

           68.   Indemnitors have failed and refused to indemnify and reimburse XL for its losses,

costs and expenses, including attorneys’ fees, incurred as a result of its having issued the Bonds

on behalf of BCR and as a result of XL being forced to pursue its right under the Indemnity

Agreement.




                                                 11
       Case 1:21-cv-03068-BAH Document 40-1 Filed 07/26/22 Page 12 of 14



VII.   XL Remains Exposed to Claims Against the Bonds

       69.     By letter dated June 23, 2022, XL was copied on a letter from counsel for Depcom,

wherein Depcom’s counsel demanded payment from BCR in the amount of $1,545,743.15 and, if

BCR did not pay as demanded, Decom indicated that it would seek recourse against the Depcom

Performance Bond (“Depcom Demand”).

       70.     A true and accurate copy of the Depcom Letter is attached hereto as Exhibit Q.

       71.     Immediately after receiving the Depcom Notice, by email dated June 27, 2022, XL,

through counsel, demanded that Indemnitors deposit collateral with XL in the amount of

$1,545,743.15 by close of business on July 6, 2022 (“Depcom Collateral Demand”).

       72.     A true and accurate copy of the Depcom Collateral Demand is attached hereto as

Exhibit R.

       73.     On June 29, 2022, MYR informed XL that the lump sum amount of the MYR Claim

had been determined, and that it was seeking a total amount of $266,073.12 against the Monmouth

Performance Bond, which amounts consist of: (i) $207,500 to pay the completion contractor to

complete BCR’s scope of work on the Monmouth Project; (ii) payment by MYR to Milton Rents

in the amount of $47,427.93 to satisfy the lien that Milton Rents filed against the Monmouth

Project; and (iii) payment by MYR to BCR vendor, White Cap, in the amount of $11,145.19 to

satisfy the lien that White Cap filed against the Monmouth Project.

       74.     By email dated July 1, 2022, Indemnitors, through counsel, offered to provide XL

a second lien position on certain equipment allegedly valued at $2 million and with equity totaling

$725,000.

       75.     XL did not accept the Indemnitors’ offer because a second lien position is not

acceptable collateral.



                                                12
      Case 1:21-cv-03068-BAH Document 40-1 Filed 07/26/22 Page 13 of 14



       76.    XL continues to face exposure to liability under the Bonds in an amount not less

than $1,892,736.10, as a result of the unresolved: (i) Willard Claim ($15,971.97); (ii) Depcom

Demand ($1,545,743.15); (iii) MYR Claim ($266,073.12); and (iv) United Rentals Monmouth

Claim ($64,947.86).




                                             13
       Case 1:21-cv-03068-BAH Document 40-1 Filed 07/26/22 Page 14 of 14



       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.




Dated: July 25, 2022                                       _____________________________
                                                           Barry Huber
                                                           Global Practice Leader
                                                           XL Specialty Insurance Company




                                              13
